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                 UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ILLINOIS
                       EASTERN DIVISION



PIERRE NAJJAR,                                   CASE NO.

                 Plaintiff                       JUDGE



GHASSAN DAHLEH AND IHASSAN DAHLEH,
Jointly and severally,

                 Defendants



SCHMIDLIN & SALIM, P.C.
Attorneys for Plaintiff
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                    COMPLAINT AND JURY DEMAND



    NOW COMES Plaintiff, Pierre Najjar, by and through his

attorneys,     Schmidlin        &   Salim,     P.C.,      and    states        the

following in support of his Complaint in this action:




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                      PARTIES AND JURISDICTION

    1.     Plaintiff,        Pierre      Najjar,       is    an    individual

residing at 8395 Wesley Drive, Flushing, Genesee County,

Michigan 48433.

    2.     Defendant, Ghassan Dahleh, is an individual who,

upon information and belief, is a citizen of Illinois.

Defendant Ghassan Dahleh provided Plaintiff with an address

for notice in Illinois and, on information, continues to

maintain a residence in Illinois.

    3.     Defendant, Ihassan Dahleh, is an individual whose

last known address was 5629 W. Cermak Road, Cicero, IL

60804, and who, on information and belief, continues to be

a citizen of Illinois and resides in Chicago, IL.

    4.    The parties have diversity of State citizenship as

Plaintiff is a citizen of and resides in Michigan, and

Defendants are citizens of and reside in Illinois.

    5.    The transactions and occurrences from which this

cause of action arose occurred in the City of Chicago, Cook

County, Illinois.

    6.    The amount in controversy exceeds $75,000.
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                             GENERAL FACTS

    7.    The parties to this action were involved in a

business transaction which resulted in a lawsuit being

filed by Plaintiff against Defendants in the United States

District Court for the Northern District of Illinois at Case

No. 09-cv-03554 (the "Lawsuit").

    8.    The foregoing action was dismissed pursuant to the

parties' execution of a Release and Settlement Agreement

on or about December 10, 2011 by and between Pierre Najjar,

as Plaintiff, and Ghassan Dahleh and Ihassan Dahleh, as

Defendants    (Release       and   Settlement        Agreement       attached

hereto as Exhibit A).

    9.    In conjunction therewith, Ghassan Dahleh executed

a Promissory Note in the amount of $250,000 (Exhibit B).

    10. In addition, Ihassan Dahleh executed a Guaranty of

Ghassan   Dahleh's       payment       under     the     Promissory           Note

(attached as Exhibit C).

    11. At paragraph 3, the Settlement Agreement calls for

certain payments to be made by Defendants to Plaintiff.


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    12. In     addition,        pursuant       to    paragraph      3    of   the

Settlement     Agreement,           in   the   event       of   default       and

Defendants' failure to cure within 30 days after having been

provided     notice      of     default,       the       document       provides

"stipulate to entry of judgment against them, jointly and

severally, in an amount equal to double the balance of

principal and accrued interest due and owing under this

Agreement at the time of default" (see Exhibit A, p. 2).

    13. Attached hereto as Exhibit D is a schedule of all

payments made pursuant to the Settlement Agreement.

    14. Attached as Exhibit E are notices of default and

an Affidavit of Kathy D. Giampetroni attesting to the

mailing dates and addresses of the notices.

    15. Defendants            did    not     pay    in    accord    with      the

Settlement Agreement.

    16. Defendants, upon notice of default, did not cure

the non-payment in accord with the Agreement.

    17. The Settlement Agreement specifically provides

that it operated to release all claims of the parties

excepting only "that the obligations of the Parties as
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stated in this Agreement and documents attached hereto

shall    survive     this    Agreement       and    constitute       the       sole

remaining obligations of the Parties" (see Exhibit A, p.

3, paragraph 4).

       18. Finally,        the   Settlement        Agreement      at     page     5

specifically provides that Dahleh is to pay Najjar's costs

of enforcement        as    well   as    all expenditures           of   Najjar

necessary to mitigate damages (Exhibit A at p. 5, paragraph

16).

                  COUNT I - BREACH OF CONTRACT

       19. Paragraphs 1 - 18 are incorporated and made a part

hereof as though fully restated herein.

       20. Defendants agreed to pay Plaintiff in accord with

the Release and Settlement Agreement attached hereto as

Exhibit A in exchange for dismissal of the Lawsuit.

       21. Plaintiff agreed to dismiss the Lawsuit pursuant

to the Release and Settlement Agreement.

       22. Defendants have failed to pay Plaintiff pursuant

to the terms of the Release and Settlement Agreement as well

as the Promissory note and Guaranty despite Plaintiff's
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repeated demands for payment.

     23. As reflected by the Affidavit attached hereto as

Exhibit F and pursuant to Paragraph 3 of the Settlement

Agreement, Defendants presently owe Plaintiff over and

above all legal set-offs and counterclaims and exclusive

of interest the sum of $495,005.31.

     WHEREFORE, Plaintiff respectfully requests that this

Honorable Court enter judgment in his favor and against

Defendants      in   the    amount     of   Four     Hundred      Ninety-Five

Thousand Five and 31/100 ($495,005.31) Dollars, plus costs,

interest and attorney fees as such continue to accrue and

such other further relief as this Court deems appropriate.

                  COUNT II - UNJUST ENRICHMENT

    24. Paragraphs 1 - 23 are incorporated and made a part

hereof as though fully restated herein.

    25. Plaintiff agreed to dismiss the Lawsuit for the

benefit    of   Defendants       in    exchange      for    the    settlement

contract attached as Exhibit A.

    26. Plaintiff           dismissed        the     Lawsuit        with       the

reasonable expectation of receiving payment under the terms
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of    the    Release      and    Settlement        Agreement       executed       by

Defendants and Promissory Note executed by Ghassan Dahleh.

       27. Defendants assured Plaintiff that Plaintiff would

receive payment pursuant to the agreements signed by the

parties and, in fact, began performance under same.

       28. Defendants           accepted        without       objection          the

dismissal of the Lawsuit by Plaintiff and have benefitted

from such dismissal.

       29. If Defendants were to assert any defense which

would cause the agreement to become unenforceable or to have

such set aside, Defendants would be unjustly enriched by

the     consideration         given      by   Plaintiff        with     a    well-

established expectation of return benefit.

       WHEREFORE, Plaintiff respectfully requests that this

Honorable Court enter judgment in his favor and against

Defendants       in    the    amount     of   Four    Hundred      Ninety-Five

Thousand Five and 31/100 ($495,005.31) Dollars, plus costs,

interest and attorney fees as such continue to accrue and

such other further relief as this Court deems appropriate.


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                   COUNT III - ACCOUNT STATED

    30. Paragraphs 1 - 29 are incorporated and made a part

hereof as though fully restated herein.

    31. Plaintiff entered into a Settlement Agreement with

Defendants (Exhibit A).

    32. Defendants accepted the terms of the Settlement

Agreement.

    33. Defendants gave Plaintiff assurances that payment

would be made as set forth in the Settlement Agreement.

    34. Defendants          were    provided      with     notices      of    the

amount due by Defendants, to which no objection was received

(see Exhibit E).         Furthermore, attached is an Affidavit

(see Exhibit F) setting forth the amount due under said

Settlement Agreement.

    35. The account has become stated and as reflected by

the Affidavit attached hereto, Defendants owe Plaintiff,

over and above all legal set-offs, claims and exclusive of

interest, the sum of $495,005.31.

    36. Despite repeated demands for payment, Defendants

have failed to pay Plaintiff pursuant to the terms of the
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Settlement Agreement between Plaintiff and Defendants.

    WHEREFORE, Plaintiff respectfully requests that this

Honorable Court enter judgment in his favor and against

Defendants     in   the    amount     of    Four    Hundred      Ninety-Five

Thousand Five and 31/100 ($495,005.31) Dollars, plus costs,

interest and attorney fees as such continue to accrue and

such other further relief as this Court deems appropriate.

                               JURY DEMAND

    NOW COMES Plaintiff, Pierre Najjar, by and through his

attorneys, Schmidlin& Salim, P.C., and demands a jury trial

in this action.




                                    SCHMIDLIN & SALIM, P.C.
                                    Attorneys for Plaintiff



Date: November 2, 2021              By: /s/ David A. Salim
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